         Case 1:22-cv-00120-TCS Document 67               Filed 03/16/23     Page 1 of 5




                 IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE TIMOTHY C. STANCEU, SENIOR JUDGE

                                                    )
GUJARAT FLUOROCHEMICALS LIMITED,                    )
                                                    )
                Plaintiff,                          )
                                                    )
        v.                                          )
                                                    )
THE UNITED STATES,                                  )     Court No. 22-00120
                                                    )
                Defendant,                          )
                                                    )
        and                                         )
                                                    )
DAIKIN AMERICA INC.,                                )
                                                    )
                 Defendant-Intervenor.              )
                                                    )

         DEFENDANT’S RESPONSE TO COMMENTS ON REMAND RESULTS

       Pursuant to the Court’s opinion and order dated January 24, 2023, defendant, the United

States, respectfully submits this response to the comments filed by plaintiff, Gujarat

Fluorochemicals Limited (GFL), and defendant-intervenor, Daikin America Inc. (Daikin),

regarding the final results of the United States Department of Commerce’s remand

redetermination. See Opinion and Order, Jan. 24, 2023, ECF No. 61 (Remand Order); Final

Results of Redetermination Pursuant to Court Remand, Feb. 23, 2023, ECF No. 63-1 (Remand

Results); Daikin Cmts., Mar. 9, 2023, ECF No. 64; GFCL Cmts., Mar. 9, 2023, ECF No. 66. On

remand, the Court ordered that Commerce shall: (1) “delete from the overall rate the 26.50%

estimated subsidy rate for the provision of land by the {State Industrial Development

Corporation}” and (2) “reconsider its inclusion of an estimated 0.12% subsidy rate for the

provision of land by the {Gujarat Industrial Development Corporation}.” Remand Order at 30.



                                                1
           Case 1:22-cv-00120-TCS Document 67              Filed 03/16/23     Page 2 of 5




       Commerce’s Remand Results comply with the Remand Order. Although Commerce

issued its remand redetermination “under respectful protest,”1 Commerce complied with this

Court’s order to delete from GFL’s overall rate the 26.50 percent estimated subsidy rate for the

provision of land by the State Industrial Development Corporation. See Remand Results at 5–6;

Remand Order at 30. Commerce also reevaluated its inclusion of the estimated 0.12 percent

subsidy rate for the provision of land by the Gujarat Industrial Development Corporation,

consistent with the Remand Order. Remand Results at 6–10. Specifically, Commerce found that

the Gujarat Industrial Development Corporation’s (GIDC) provision of land for less than

adequate remuneration (LTAR) constitutes a financial contribution from an authority and is

specific. See id. at 2, 6–7. In reconsidering the entirety of its decision to include the 0.12

percent rate, Commerce also reexamined its benefit calculation. See id. at 7–10. However,

because Commerce continued to find that the Ahmedabad land is the best available benchmark

on the record for calculating GFL’s benefit under the GIDC provision of land for LTAR

program, Commerce made no changes to the 0.12 percent estimated subsidy rate. See id. at 10–

15.

       As we have previously demonstrated, Commerce’s reliance on the Ahmedabad land in

Gujarat as the benchmark is supported by substantial evidence and not contrary to law, see Def.

Resp. at 25–28 (ECF No. 46), and that remains the case with respect to the Remand Results. On

remand, Commerce again explained that, unlike the other benchmarks placed on the record, the

Ahmedabad land met several benchmark criteria: it is a transaction between private parties; it is

in the same state (Gujarat) as the land from the GIDC; and it is comparable to the industry-ready



       1 Commerce “disagree{d} with the CIT’s decision to direct Commerce to reach a
particular outcome on {an} issue, i.e., to delete the 26.50 percent estimated subsidy rate from the
overall rate.” Remand Results at 5.


                                                  2
          Case 1:22-cv-00120-TCS Document 67                Filed 03/16/23     Page 3 of 5




land provided by the GIDC. See id. at 7–9, 12–14. Commerce also reasonably explained why

GFL’s arguments do not show that Commerce’s benchmark analysis, which is limited to record

information, is unsupported by substantial evidence or not in accordance with the law. See id. at

12–14.

         Notwithstanding their dissatisfaction with certain aspects of the outcome on remand, GFL

and Daikin both suggest that the Court sustain the Remand Results. See GFL Cmts. at 7; Daikin

Cmts. at 6. Regarding the provision of land by the GIDC, Daikin indicates that “this Court

should affirm Commerce’s Remand Results.” Daikin Cmts. at 3. And although Daikin disagrees

with this Court’s order to delete the 26.50 percent subsidy rate, Daikin does not argue that

Commerce failed to follow this Court’s direction or comply with the Remand Order. See id. at

3–6. Indeed, Daikin states that “the Court may affirm this aspect of the remand submitted under

respectful protest in order to permit parties to appeal the issue to the Federal Circuit.” Id. at 6.

For its part, GFL agrees with Commerce’s removal of the 26.5% estimated subsidy rate “and

supports Commerce’s Final Remand Redetermination.” GFL Cmts. at 4–5. Moreover, despite

disagreeing with Commerce’s ultimate benchmark determination for the provision of land by the

GIDC, GFL nevertheless “supports the Final Remand Redetermination and will not request a

second remand to the agency on this issue solely in the interest of expediency.” See id. at 5–7.

         Accordingly, because Commerce complied with the Remand Order, the remand is

supported by substantial evidence, and no party challenges Commerce’s remand redetermination,

we respectfully request that the Court sustain Commerce’s Remand Results.

                                                       Respectfully submitted,

                                                       BRIAN M. BOYNTON
                                                       Principal Deputy Assistant Attorney General

                                                       PATRICIA M. McCARTHY



                                                  3
       Case 1:22-cv-00120-TCS Document 67     Filed 03/16/23   Page 4 of 5




                                          Director

                                          s/ Claudia Burke
                                          CLAUDIA BURKE
                                          Assistant Director

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                                      4
         Case 1:22-cv-00120-TCS Document 67             Filed 03/16/23   Page 5 of 5




                            CERTIFICATE OF COMPLIANCE

       I, Daniel F. Roland, hereby certify that this brief, including headings, footnotes, and

quotations, contains 790 words, according to the word count function of the word processing

program used to prepare this brief.

                                      /s/ Daniel F. Roland

March 16, 2023




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